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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    BOY SCOUTS OF AMERICA AND                                     Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                  (Jointly Administered)
    Debtors.
                                                                  Hearing Date: May 19, 2021 at 10:00 a.m. (ET)
                                                                  Objection Deadline: May 6, 2021 at 4:00 p.m. (ET)

               AMENDED NOTICE OF HEARING TO CONSIDER APPROVAL OF
             DISCLOSURE STATEMENT AND SOLICITATION PROCEDURES FOR
             THE SECOND AMENDED CHAPTER 11 PLAN OF REORGANIZATION
                FOR BOYS SCOUTS OF AMERICA AND DELAWARE BSA, LLC

        PLEASE TAKE FURTHER NOTICE THAT the hearing to determine whether to,
among other things, approve the Disclosure Statement and the relief requested in the Solicitation
Procedures Motion [D.I. 2295] has been adjourned and will be held via videoconference on May
19, 2021 at 10:00 a.m. (Eastern Time) (the “Disclosure Statement Hearing”) before the
Honorable Laurie Selber Silverstein at the United Stated Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”). Please be advised that the Disclosure Statement Hearing may
be adjourned or continued from time to time by the Bankruptcy Court or the Debtors without
further notice other than as indicated in any notice or agenda of matters scheduled for a particular
hearing that is filed with the Bankruptcy Court or by being announced in open court. If the
Disclosure Statement Hearing is continued, the Debtors will post the new date and time of the
Disclosure Statement Hearing at https://omniagentsolutions.com/BSA.

        PLEASE TAKE FURTHER NOTICE THAT the deadline to object to approval of the
Disclosure Statement or the relief requested in the Solicitation Procedures Motion is May 6, 2021
at 4:00 p.m. (Eastern Time). Responses and objections to approval of the Disclosure Statement
or the relief requested in the Solicitation Procedures Motion must satisfy the requirements set forth
in the prior amended notice for the Disclosure Statement Hearing [D.I. 2419] (the “Prior Notice”).
To the extent any party has already filed an objection to the Disclosure Statement consistent with
the procedures prescribed in the Prior Notice, it does not need to refile such objection.

     PLEASE TAKE FURTHER NOTICE THAT IF ANY OBJECTION TO THE
DISCLOSURE STATEMENT IS NOT FILED AND SERVED AS PRESCRIBED IN THE PRIOR
NOTICE, THE OBJECTING PARTY MAY BE BARRED FROM OBJECTING TO THE




1     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification number, are
      as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325 West
      Walnut Hill Lane, Irving, Texas 75038.
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ADEQUACY OF THE DISCLOSURE STATEMENT AND MAY NOT BE HEARD AT THE
DISCLOSURE STATEMENT HEARING.

        PLEASE TAKE FURTHER NOTICE THAT copies of the Disclosure Statement, the
Plan, and the Solicitation Procedures Motion are available for review and download free of charge
on the website maintained by the Debtors’ claims, noticing, and solicitation agent, Omni Agent
Solutions, at https://omniagentsolutions.com/BSA.

Dated: April 13, 2021

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                        Attorneys for the Debtors and Debtors in Possession




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